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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 9:16-CV-80170-KAM

   HARBOURSIDE PLACE, LLC, a Florida
   limited liability company,

                  Plaintiff,

   vs.

   TOWN OF JUPITER, a Florida municipal
   corporation, and JUPITER COMMUNITY
   REDEVELOPMENT AGENCY, a dependent
   special district of the Town of Jupiter, Florida,

               Defendant.
   ______________________________________/

     ORDER DENYING PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION

          This matter is before the Court upon Plaintiff, Harbourside Place, LLC’s (“Harbourside”)

   motion for the issuance of a preliminary injunction against Defendant, the Town of Jupiter (“the

   Town”), a municipal corporation located in Palm Beach County, Florida. [DE 44].1 An evidentiary

   hearing was conducted before the Court. Upon considering the evidence presented, the argument

   of counsel and otherwise being duly advised in the premises, it is hereby ORDERED AND

   ADJUDGED as follows:

          I. BACKGROUND.

          Harbourside is the owner and operator of an entertainment center known as “Harbourside

   Place” located within the Town. Harbourside Place is located along the Intracoastal Waterway


          1
            Harbourside has described its motion as one seeking a “temporary injunction.” While a
   temporary injunction is the proper terminology to use in the state courts of Florida, see Fla. R.
   Civ. P. 1.610(a), in the federal courts the motion is properly described as one for a preliminary
   injunction. Fed. R. Civ. P. 65(a).
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   within the Town. Harbourside Place comprises approximately 11 acres and includes approximately

   43,164 square feet of retail space leased to various shops, restaurants and a 179 room hotel. The

   location also has an outdoor amphitheater where Harbourside has and desires to continue to present

   live musical performances for the those who frequent the property and its tenants’ businesses.

          Across the Intracoastal Waterway from Harbourside Place is a residential development

   known as “Water’s Edge.” Water’s Edge consists of 20 residential lots, 14 of which are located

   directly on the Intracoastal Waterway. The distance between the amphitheater located at Harbour-

   side Place and the waterfront lots at Water’s Edge is between 630 ft. and 737 ft. Residents at

   Water’s Edge began complaining to the Town about the noise level of music which was being played

   at the Harbourside Place amphitheater. As a result of the concerns expressed by nearby residents,

   the Town and Harbourside engaged in numerous interactions in an attempt to remedy the concerns.

   Ultimately, the Town adopted a new noise ordinance, Ordinance 1-16 (“the Ordinance”), in June of

   2016. Plaintiff’s Exhibit 4. Harbourside contends that the enactment of the Ordinance has resulted

   in an unconstitutional limitation on its right of freedom of expression under the First and Fourteenth

   Amendments by unlawfully restricting its ability to have live music performed at Harbourside Place.

   Harbourside thus seeks to enjoin the Town’s enforcement of the Ordinance.

            DISCUSSION.

          A. Relevant Facts.

          The Court first observes that the vast majority of the evidence presented in connection with

   the present motion relates to zoning and permitting disputes between Harbourside and the Town that

   have no bearing on the constitutionality of the Ordinance. Whether Harbourside violated conditions

   of special permits or whether the amphitheater at Harbourside Place has met the requirements to be


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   classified as an Outdoor Venue are not matters of constitutional significance unless, as Harbourside

   contends, the Town’s actions are part of an overarching scheme to infringe on Harbourside’s

   constitutional right to play music on its property. To the extent Harbourside contends that the Town,

   through its Building, Zoning and Code Enforcement representatives, is selectively targeting it in

   order to frustrate its ability to use Harbourside Place profitably by unconstitutionally restricting its

   right to play music, the Court rejects that contention.

           Harbourside Place is a planned unit development within the Town that was approved through

   a series of resolutions and ordinances. Plaintiff’s Exhibit 74. Some of the provisions of these

   foundational documents that are relevant to the present controversy include:

           Section 2, ¶ 19 of Ordinance No. 44-10, which provides:

                           The Owner [Harbourside] shall measure the noise levels at
                           different locations throughout the subject property with a noise
                           governor or docimeter to ensure that the businesses and subject
                           property as a whole meets and maintains compliance with the
                           noise standards of the Town as they now exist or may be
                           amended from time to time.

   (emphasis added); See also, Resolution No. 04-10, Section 2, ¶17.

         Section 2, ¶ 11 of Resolution No. 2-13, which provides for sound requirements for Outdoor
   Venues, states:

                           a. That the sound limiter shall be set up to limit the overall
                              sound output from the sound system such that it meets
                              the Town’s sound level regulations at the subject
                              property’s property lines.

   (emphasis added).

           Section 2, ¶ 15 of Resolution No. 2-13 provides:

                           The Owner shall maintain, on the subject property, an approved
                           sound level meter . . . The sound level meter is required as


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                         a condition herein to assist the business in self-monitoring
                         sound levels on the subject property.
   (emphasis added).


          The Ordinance provides, in relevant part, that:

                         Section 13-86. Operation of outdoor sound amplification devices;
                         outdoor venues.

                                (a) Outdoor sound amplification.

                                (1) It is unlawful to use, operate or permit to be played
                                  any outdoor sound amplification machine or device
                                  including but not limited to a radio receiving set, musical
                                  instrument, compact disk, tape, phonograph, loudspeaker,
                                  sound amplifier or other machine or device for the
                                  production or reproducing of sound between the hours
                                  of 11:00 p.m. and 7:00 a.m., except if approved as an
                                  outdoor venue as provided in subsection (b) below.

                                (2) All sounds emanating from an outdoor amplification
                                    machine or device in any sound zone or on the public
                                    right of way shall be limited in volume and tone so as
                                    not to exceed the regulations established herein.

                                (3) Outside live musical performances associated with a non-
                                residential establishment shall meet the outdoor venue regulations of
                                subsection (b) below or obtain special permits pursuant to Chapter 27,
                                Article IV entitled “Special Permits”.

   (b) Outdoor Venue. An outdoor venue may be approved to operate outdoor sound amplification
   devices with extended hours up to 12:00 a.m., if all of the following requirements are met:

          (1)    Exterior sound standards of section 13-125, Table 2.
          (2)    A site plan identifying the location and details of all speakers, sound attenuation and
                 outdoor stages which demonstrates that the stage sound attenuation and speakers are
                 located on the property to minimize the projection of sound amplification beyond the
                 surrounding upland property lines of a proposed outdoor venue.
          (3)    Details and specifications of the proposed professional sound system which
                 demonstrate that the sound being amplified is transmitted only through the
                 professional sound system; and
          (4)    Details and specifications that the proposed professional sound system include a


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                  sound limiter. The professional sound system shall have a sound limiter with a
                  tamper resistant volume control limiter. The volume is to be set and locked at or
                  below the maximum allowable sound level and the sound levels from the outdoor
                  venue shall not exceed the exterior decibel levels established for the zoning district
                  in which the outdoor venue is located. The sound level from the outdoor venue shall
                  meet the sound levels established for properties in the zoning districts of surrounding
                  properties.

                  An inspection of the sound data report from the sound limiter and access to the sound
                  system shall be permitted at any time upon the request of a Town police or code
                  compliance officer. The failure to provide the Town with the sound data report or
                  the refusal to provide the Town with access to the sound limiter shall be violation of
                  this section.

           (5)    Sound attenuation of adequate height, length and density such as perimeter walls,
                  berming or other adequate soundproofing barrier around the outdoor stage and/or
                  perimeter of the property are a requirement for outdoor venues to ensure that the
                  standards of Section 13-125 are met at the upland property line of a property
                  approved as an outdoor venue and the sound levels established for the zoning
                  districts of surrounding properties.
           (6)    A property owner who has established a use with outdoor live music on its property
                  prior to November 16, 2010, and who proposes to establish an outdoor venue on that
                  property shall submit an administrative site plan amendment. All other proposed
                  outdoor venues shall submit a site plan application with an event program to the
                  Town which shall be subject to the review and approval of the Town Council. The
                  purpose of the event program is to define the hours and frequency of events to
                  demonstrate conformance with Section 27-96.

           Outdoor venue means a nonresidential establishment, or portion thereof, which is not
   completely enclosed with walls, windows, and a roof and has a site plan approval to operate outdoor
   amplification devices for sound for the purposes of playing live music and announcements on a
   regular basis more times than permitted in Chapter 27, Article IV entitled “Special Permits.”

   Plaintiff’s Exhibit 4 (emphasis added).

           The Ordinance increased the sound level limit of the zoning category that applies to

   Harbourside from 60 dBA at the property boundary to 65 dBA. Affidavit of Gary Siebein ¶ 20 [DE

   101].




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          Under the Ordinance, any person wanting to have an outdoor live musical performance on

   their non-residential property must obtain a special event permit from the Town or approval from

   the Town Council for an outdoor venue pursuant §13-86(b) of the Code. The Ordinance requires

   an outdoor venue to meet the sound level standards of §13-125 “at the upland property line of a

   property approved as an outdoor venue and the sound levels established for the zoning districts of

   surrounding properties.” Plaintiff’s Exhibit 4, Section 3(b)(5).

          Despite Harbourside’s assertions to the contrary, the Court finds that Harbourside has not

   met the conditions for being classified as an “Outdoor Venue.” While the buildings at

   Harbourside have met the requirements of the Building Code in order to obtain certificates of

   occupancy, that is insufficient to meet the requirements for being classified as an “Outdoor

   Venue.” Harbourside did not meet all of the conditions required to be an “Outside Venue.”

   Affidavit of Roger Held, ¶ 5 [DE 103]; Affidavit of John Sickler, ¶¶ 26, 27, 47 [DE 102];

   Affidavit of Stephanie Thoburn, ¶¶ 29, 32 [DE 99]. Thus, because an events programming

   schedule had not been approved, Harbourside was required to obtain special permits in order to

   have live musical performances at its property. Affidavit of Stephanie Thoburn, ¶ 27 [DE 99];

   see Affidavit of John Sickler, ¶ 30 [DE 102].

          The Court finds that the Town did not attempt to dictate to Harbourside the type or genres

   of music that could be performed at Harbourside Place. See Affidavit of Stephanie Thoburn,

   ¶ 28 [DE 99]. The Court finds credible the testimony of the Town’s representatives that any

   limitation on the playing of rap, hip-hop or heavy metal rock music was self-imposed by

   Harbourside. See Affidavit of John Sickler, ¶ 29 [DE 102].




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          The Court also finds that Harbourside repeatedly exceeded the permitted noise levels

   under the applicable Town ordinances by the presentation of live musical performances.

   Affidavit of Gary Siebein [DE 101]; Affidavit of Edward Dugger [DE 100]. Some exceedances

   were above 75 dBA at Harbourside Place. Affidavit of Gary Siebein, ¶ 19 [DE 101]. Measured

   exceedances were not attributable to “spikes,” but were the result of singing and playing of

   musical instruments at the amphitheater. Affidavit of Gary Siebein, ¶ 13 [DE 101]. Nor are the

   exceedances attributable to a particular style of music or the music’s content. Id. ¶ 17.

   Furthermore, measuring the noise level from the subject property rather than the affected

   property is reasonable. Affidavit of Edward Dugger, ¶15(C) and (D) [DE 100]. The Court finds

   that the noise limits contained in the Ordinance are reasonable. Affidavit of Gary Siebein, ¶ 19

   [DE 101].

          The Court finds that the Town did not use the special permitting process as a means to

   control the content of musical performances at Harbourside Place. Rather, since Harbourside had

   not met the conditions for becoming an Outdoor Venue, the special permitting process was the

   proper means under the Town’s ordinances for authorizing live musical performances.

          The Court finds that the Town did not adopt the Ordinance in order to target or retaliate

   against Harbourside, or as a means of controlling the content of musical performances at

   Harbourside. The Court finds that the Ordinance is content neutral on its face and was not

   adopted by the Town to control the message being expressed through the music performed at

   Harbourside Place.




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          B. Legal Standards for the Issuance of a Preliminary Injunction.

          “A preliminary injunction is an extraordinary and drastic remedy not to be granted unless

   the movant clearly established the ‘burden of persuasion’ as to each of the four prerequisites.”

   Four Seasons Hotels and Resorts, B.V. v. Consorcio Barr, S.A., 320 F.3d 1205, 1210 (11th Cir.

   2003) (citing McDonalds Corp. v. Robertson, 147 F.3d 1301, 1306 (11th Cir. 1998)). “The

   purpose of a preliminary injunction is to preserve the positions of the parties as best we can until

   a trial on the merits may be held.” Bloedorn v. Grube, 631 F.3d 1218, 1229 (11th Cir. 2011)

   (citing Univ. of Tex. v. Camenisch, 451 U.S. 390, 395 (1981)).

          Normally, a private party seeking a preliminary injunction under Federal Rule of Civil

   Procedure 65 must demonstrate (1) a substantial likelihood of success on the merits; (2) that

   irreparable injury will be suffered unless the injunction is issued; (3) the threatened injury to the

   movant outweighs whatever damage the proposed injunction might cause the non-moving party;

   and (4) if issued, the injunction would not be adverse to the public interest. BellSouth

   Telecommunications, Inc. v. MCIMetro Access Transmission Services, LLC, 425 F.3d 964, 968

   (11th Cir. 2005).

          C. Legal Standards for Challenging Noise Ordinances.

          Harbourside contends that the noise ordinance enacted by the Town is unconstitutional

   because it places an undue restriction on its ability to engage in a constitutionally protected form

   of expression, that being the playing of music on its property. It is recognized that music is a

   form of expression and communication that is protected by the First Amendment of the U. S.

   Constitution. Ward v. Rock Against Racism, 491 U.S. 781, 790 (1989). Because Harbourside is

   challenging the Town’s noise ordinance as it relates to Harbourside’s ability to have music


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   played from its outdoor amphitheater, the Court will treat this case as one where the music is

   being disseminated from a public forum. Thus, the Town’s right to regulate musical expression

   is subject to the protections of the First Amendment. Id. at 791. Notwithstanding the fact that

   Harbourside wishes to have music played in a public forum, the Town may impose reasonable

   restrictions on the time, place, or manner of protected speech, provided the restrictions “are

   justified without reference to the content of the regulated speech, that they are narrowly tailored

   to serve a significant governmental interest, and that they open ample alternative channels for

   communication of the information. Id; DA Mortgage, Inc. v. City of Miami Beach, 486 F.3d

   1254, 1266 (11th Cir. 2007).

          The principal inquiry in determining content neutrality, in speech cases generally, and in

   time and place or manner cases in particular, is whether the government has adopted a regulation

   of speech because of disagreement with the message it conveys. Ward, 491 U.S. at 791; DA

   Mortgage, 486 F.3d at 1266. The government’s purpose is the controlling consideration. Id. A

   regulation that serves purposes unrelated to the content of expression is deemed neutral, even if it

   has an incidental effect on some speakers or messages but not others. Ward, 491 U.S. at 791.

   Government regulation of expressive activity is content neutral so long as it is justified without

   reference to the content of the regulated speech. Id.; DA Mortgage, 486 F.3d at 1266. If the

   ordinance is content neutral, courts will analyze it according to intermediate, rather than strict,

   scrutiny.

          In evaluating time, place and manner restrictions, “the least intrusive means” of achieving

   the desired end is not required. Ward, 491 U.S. at 797-98; DA Mortgage, 486 F.3d at 1267. The

   requirement of narrow tailoring is satisfied “so long as the . . . regulation promotes a


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   substantial government interest that would be achieved less effectively absent the regulation.”

   Ward, 491 U.S. at 799; DA Mortgage, 486 F.3d at 1267.

          It is also important to recognize that the government “has a substantial interest in

   protecting it citizens from unwelcome noise.” Ward, 491 U.S. at 796; Pine v. City of West Palm

   Beach, 762 F.3d 1262, 1269 (11th Cir. 2014). While this interest is at its greatest when it

   concerns the well-being, tranquility and privacy of the home, the government may act to protect

   traditional public forums as city streets and parks from excessive noise. Pine, 762 F.3d at 1269.

          D. Analysis of Facts to the Law.

          As previously indicated, although music is a form of expression and communication that

   is constitutionally protected, governmental entities may impose reasonable restrictions on the

   time, place, or manner of protected speech, provided the restrictions “are justified without

   reference to the content of the regulated speech, that they are narrowly tailored to serve a

   significant governmental interest, and that they open ample alternative channels for

   communication of the information. Ward, 491 U.S. at 791; DA Mortgage, Inc., 486 F.3d at

   1266. The Ordinance is content neutral and was not enacted for the purpose of controlling the

   messages expressed through the music being played at Harbourside Place.2 Rather, the

   Ordinance was adopted to protect the residents of the Town from excessive noise, which

   objective would not be achieved in the absence of the Ordinance.




          2
             Harbourside places great reliance on the case of Reed v. Town of Gilbert, Arizona, 135
   S. Ct. 2218 (2015) to support its challenge to the constitutionality of the Ordinance. The Court
   concludes this reliance is misplaced. In Reed, the Court was analyzing a sign ordinance, not a
   noise ordinance, which was not content neutral on its face. Here, the Ordinance is content
   neutral on its face.

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          The Ordinance promotes a significant governmental interest by reasonably limiting the

   decibel levels at which the musical expression can be disseminated on the Harbourside Place

   property.3 With the use of recommended sound mitigation and attenuation strategies,

   Harbourside would be able to have music played and heard on its property without adversely

   affecting adjacent property owners. See Affidavit of Gary Siebein, ¶¶ 18, 23 [DE 101]; Affidavit

   of Edward Dugger, ¶¶ 8, 14 [DE 100]. Thus, the Ordinance is narrowly tailored to serve the

   significant governmental interest of protecting inhabitants of the Town from excessive noise, yet

   there are ample alternative channels available to Harbourside to continue to communicate




          3
              Harbourside challenges the requirement of the Ordinance that the decibel level of
   sounds be measured at its property as opposed to the location where the sounds are received. As
   previously indicated, the Court finds that provision to be reasonable. See Affidavit of Edward
   Dugger, ¶ 15(C) and (D) [DE 100]. Moreover, measurement of the noise levels from
   Harbourside Place was always contemplated by the parties when the development was approved.
   Plaintiff’s Exhibit 74, Section 2, ¶ 19 of Ordinance No. 44-10; Resolution No. 04-10, Section 2,
   ¶17; Section 2, ¶ 11 of Resolution No. 2-13; Section 2, ¶ 15 of Resolution No. 2-13.
              Additionally, to the extent Harbourside challenges the Ordinance on the basis that it is
   vague and ambiguous because the sound standards for an Outside Venue must be met at the
   “upland property line,” that challenge is also rejected. “Upland property line” has a recognized
   and ascertainable meaning, as does “mean high-water line.” See Fla. Stat. §§ 177.27(15),
   177.28(1); Martin v. Busch, 93 Fla. 535, 112 So. 274, 285 (1927)(Uplands are those bordering on
   bodies of water. Lands bordering on the shores of navigable waters do not extend beyond the
   ordinary high-water mark.); American Land Association’s Land Title Institute, Title 101, Chapter
   9, “Water Rights and Related Issues” at 9-1 (2001 rev. ed.)(“The land below the mean high-tide
   line is classified as submerged, and the land above the mean high-tide line as upland.”)

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   through the medium of music.4 As a result, the Court concludes that the Ordinance passes

   constitutional muster.

          Because the Ordinance is not constitutionally infirm, Harbourside cannot meet the

   requirements for the issuance of a preliminary injunction against its enforcement. Harbourside

   had not demonstrated a likelihood of success on the merits, it will not suffer irreparable injury by

   the enforcement of a valid ordinance, the threatened injury to Harbourside does not outweigh the

   damage the issuance of an injunction would cause the Town, and it would not serve the public

   interest to enjoin the enforcement of a constitutionally valid ordinance. BellSouth

   Telecommunications, Inc., 425 F.3d 968.

          Conclusion.

          In view of all of the foregoing, Harbourside’s motion for a preliminary injunction is

   DENIED.

          Done and Ordered in Chambers in West Palm Beach, Palm Beach County, Florida, this

   10th day of May, 2018.



                                                              KENNETH A. MARRA
                                                         UNITED STATES DISTRICT JUDGE




          4
             In its constitutional challenge, Harbourside places great reliance on the fact that the
   Ordinance makes it unlawful to create any sound, when measured on any other property line, to
   exceed the “A maximum A-weighted instantaneous sound level or peak measurement value
   which is greater than or equal to the relevant sound standard by 10 dB(A) for any time period.”
   (“spikes”). Plaintiff’s Exhibit 4, Section 13-125 (b)(2). The Court rejects this as a basis to render
   the Ordinance constitutionally infirm in view of the evidence presented in this case, which the
   Court accepts, that measured exceedances were not attributable to “spikes.” Affidavit of Gary
   Siebein, ¶ 13 [DE 101].

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